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Attorney for Plaintiffs
                        UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                               EUGENE DIVISION

SHERRI STUART,                                        )
                                                      )
                Plaintiff,                            )
                                                      )
       v.                                             )      No. 6:17-cv-00065-JR
                                                      )
                                                      )        Complaint
                                                      )
CAPITAL ONE BANK,                                     )
                                                      )
                Defendant.                            )

                                   NOTICE OF SETTLEMENT

       NOW COMES Plaintiff, SHERRI STUART (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 60 days.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.

                                                      Respectfully submitted,

Dated: June 23, 2017                                  /s/ Kenneth P. Dobson
                                                      Kenneth P. Dobson
                                                      Attorney at Law
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                                                      Portland, Oregon 97239
                                                      Tel: (971) 717-6582
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2017, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System.




                                      By:    /s/ Kenneth P. Dobson
                                             Kenneth P. Dobson
                                             Attorney for Plaintiff




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